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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


DAVID FLOYD, et. al.,                                         STIPULATION OF
                                                              SETTLEMENT AND ORDER
                                              Plaintiffs,     FOR COUNSEL FEES, COSTS,
                                                              AND EXPINSES TO CLASS
                       -against-                              COUNSEL T'OR TIMN AND
                                                              EXPENSES INCURRED IN THIS
THE CITY OF NEW YORK, et. al.,
                                                              MATTER FROM JUNE 1, 2oI9
                                                              THROUGHJUNE 6,202t
                                            Defendants.
                                                              08 cv 1034 (AT)



       WIruAEAS, on January 31, ?008, Plaintiffs in the above-captioned action filed a

Complaint pursuant to 42 U.S.C. $ 1983; the Fourth and Fourteenth Amendments to the United

States Constitution; the Constitution and laws of the State of New Yorh and

       WIIEREAS, on August 12, 2013, the Court imposed a final order of permanent

injunction and ordered several forms of permanent relief; and

       WHERSAS, on October 31,2014, the United States Court of Appeals for the Second

Cirsuit affinned the District Court's Opinion of July 30, 2014 denying the police unions motion

to intervene, glanted the City of Nerv York's motion to rvithdraw the appeal of this matter with

prejudice, and remanded this case back to the District Court for filther proceedings as may be

appropriate in the circurnstances; and

       WHERAAS, the Parties sought to resolve the issue of counsel fees, costs and expenses,

rvithout further litigation, on tenns iust and fair to all Parties and entered into the Stipulation of

Settlement of Counsel Fees, Costs and Expenses and Order, which w85 extensively and

vigorously negotiated in good faith, over a period of several months, and so otdered by the Court

on Janrary 24,2017 ("Main Fee Stipulation"); and
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                                                                                             Rolnick
       WHEfi.EAS, by Motion to Withclraw as Counsel dated Februaly 20, 2019. Jerrn

Borchetta and The Bronx Defenders withdrew as counsel for Plaintiffs in ftis matter. By Court

Order dated Febru$ly 20, 2019, that Molion was granted; and

       WHEREAS, the Defendants and the Plaintiffs agree that, having obtained the above-

described relief, pursuent to Section D of the Main Fee Stipulatiort, Plaintiffs are entitled
                                                                                                to an

award of reasonable attorneys' tbes, costs and Bxpenses to Class Counsel for time
                                                                                        and expenses


incurred in this matter, from June 1, 2019 through June 6, 2020, and

        WIIARSAS, the negotiations have resulted in this fee stipulation ("Fourth Interim Fee
                                                                                     and expenses in
Stipulation"), which is subject to Court Approval, settles the counsel fbes, cost$
                                                                                 expanses incurred in
this action, in the manner and upon the terms set fo{th betow, for time and

this matter, from June l, 2019 through June 6" 2020.

        NOW, TIIEREFORE, IT IS TIEREBY STIPULATED AND AGREED, bY ANd

between the undersigned, as follows;

                                       A.,DEFINTTIONS

                ..Main Fee Stipulation" shall mean the Stipulation of Settlement of Counsel Fees,
         l.
                                                                                    action, which was
costs and Expenses and order, executed by the Parties in the above-captioned

so ordered by the Court on January 24,2017 '

                ,,Fourth Interim Fee Stipulation" shall nrean tlris Stipulation of Settlement and
         Z.
                                                                    Time and Expenses Incurred in
 Order for Counsel Fees, Costs and Expenses to Class Counsel for

                                                                                 Parties in the above-
 This Matrer from June 1, 2A19 through June 6" 2020, executed by the
                                                              Fee stipulation'
 captioned action in accordance with section D of the Main
                                                                                      Approval Date'n
         3.     "Effective Dateo'shall mean (30) thirty days following thc "Final

                                                              Fourth Interim Fee Stipulation enters
 defined belorv, and shall also be the date upon which this

 into effect.

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          4.    '?inal Approval Date" shall mean the date on which this Court endorses this

Foufih Interim Fee Stipulation and lollowing any coutt prrceedings and/or rulings, if applicable,

in connection with the approval of this Fee Stipulation'

          5.    "Plainfiffs'" shall mean the Class Representatives and Class hdennbers'

          6.    "Parties" shall mean Plaintiffs and Dcfendants.

          7.    "Class Representafives" shall mean the Named Ptaintiffs in the above captioned

action.

          8,    .'settlement Class" shall mean the class of Plaintiffs agreed upon by the Parties.


          9.    n.Class
                          Mernbers" shall mean all members of the Settlement Class.

          10. .'Class Counsel" shall mean Plaintiffs' attorneys of record in the above-captioned
action between June l, 2019 and June 6, 2020, including Beldock Levine & Hoffman LLP,

CenterforConstizutiona1Rights,andCovington&BurlingLLPr@
*wwwh
          11. ,'Defendants" shall mean the City of New York, the New York City Police
Department, and their predecessors? successors, or assignees together with past,
                                                                                          present and


future officials, employees, representatives, and agents'

          12. "Cify" shall mean the City of New York'
                                        B. INTRODUCTION
                                                                                                 good
          L      The parties enter into this Fourth Interim Fee Stipulation after arm's length

                                                                                          the payment
 faith negotiarions for the purpose of avoiding the burdens of further litigation over
                                                                                               in this
 of counssl fees, costs and expenses to Class Counsel tbr time and expenses incurred

 action, from Jme l, 2019 through June 6, 2020'




                                                    n
                                                    J
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        2.      This Court has jurisdiction over this action under 28 U.S.C. $$ t33l and 1343.

Venue is proper in the United Statcs District Court for the Southem District of New York

pursuant to 28 U.S.C. $ 1391.

                           c, couNSEL FEES. COSTS AND qXPENSqq
                           FROM JUNN I. ?OI9 TIIROUGI{ JUNE 6.2020

        1.     The City agrees to pay attorneys' fee$, costs, and expenses, totaling one-million,

six-hundrnrl and eight thorrsand, six hundred and lifteen dollars and forty-nine cents

i$1,608,6tS,49) to Class Counsel for time and expenses incurred in this matter, June 1,2019

through June 6, 2020, Class Counsel represent that they are authorized to receive payment on

behalf of the Plaintiffs in full satisfaction of all claims for attomeysn fees, costs, and expenses in,

arising from, or in connection with this action, from June l, 2019 through June 6, 2420.

Plaintiffs hereby agree that payment shall be made by check as follows: $1,032,615.49 to

Beldock Levine & F{of'finan LLP (which includes $8,615.49 in costs and expenses), $256,000.00

to Jonathan C, Moore, Esq., and $320,000.00 to the Center for Constitutional Rights, and accept

said payment in full satisfaction of all claims for attorneys' fees, costs, and expenses, in, arising

from, or in connection with this action, during that time period.

        z.ClassCounselrepresentsthatCovington&BurlingLLPWdw
ggtling=#+rf have not sought any attomeys' fees, costs or expenses in, arisittg from, or in

connectiorr with this action, fi'om.Iune 1,2019 through June 6,2020. By virtue of the Court's

Order dated February 2A,2019, granting Jenn Rolnick Borchetta's and The Bronx Defenders'

Motion to Withdraw as Counsel, they no longer seek attomeys' fees, costs or expen$ss in, arising

from, or in connection with this action.

        3.      These three (3) payments shall be made within (60) sixty days finm the EfTective

Date of this Stipulation and Order. No interest shall accrue if payrnent is issued within 60 days



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from the Effective Date of this Stipulation and Order, Any payment received beyond the 60 day

period shall accnre interest a.s provided by the Fsderal Rules of Civil Procedure.

       4,      This Fourth Interim Fee Stipulation may be executed in one or more counterparts,

sach of wtrich shall be deemed an original, but all of which together shall constituts one and the

sarne instrument.

                                          p. RELDAS4

        I      This Fourth Interim Fee Stipulation resolves all clairn$ for attorneysr fecs, sosts,

and expenses to Clnss Counsel incurred for time and cxpenses in this mattcr from June 1,2019

through June 6, 2020, in accordance with the provisions of the Main Fee Stipulation, as sct forth

in Section D therein.

       2"      Class Counsel, having been assigned the rights to attomeys' feeso cosLs, arad

oxpen$es by Plaintiffs, hereby agree and represent that no other claims for attorneys' fees,

expsnses, of c0sts arising out offhis action, for time and expenses incurred by Class Counsel in

this matter, from June 1,2019 through June 6,2020, shall be made by or on behalf of Class

Counsel or Plaintiffs in any application for attorneys' fee$, expenses, or costs at any time.

        3.     This Four"tlr Interim Fee Stipulation shall not be adrnissible in, nor is it related to,

any other litigation or settlernent negotiations outside of the above-captioned action, exeept to

enfsrce the teffis of this agreement.

       4.      This Fourth Interim Fee Stipulation contains all the terms and conditions agreed

upon by counsel for the Defendants and the Plaintifl-s hereto. and no Oral agreement entered into

at any time nor any wdtten agreement entered into prior to thc execution of this Fouth lnterim

Fee Stipulation regarcling the subject matter of attomeys' fees, expenses, or costs to Class

Counsel fortimeand cxpenses incurred in this matter, from June 1,2019 throughJune 6,2020,

shall be deemed to exist, or to bind the Parties herets, or to vary the terms and conditions


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coiltained herein, except that this Fourth Interim Fee Stipulation shall be interpreted in a manner

consistent with lhe previously-executed Main Fee Stipulation,

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                                     g:NULLIFTCATION

       l.       In the evcnt the Conrt does not approve this Fourth Interim Fee Stipulation, the

Parties shali meet and confer in good fbith to determine whcther to agree upon a modificd Fourth

Interim Fee Stipulation. If they are unable to do so, this Fourth Interim Fee Stipulation shall

become null andvoid.

Dated: New York, New York
       August   20 ,zozt


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                         t


               & BURLING
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Attorney{or Plaintffi
                                                     SO ORDERED:



                                                     HONORABLE ANALISA TORRES
                                                     United Statss Distict Judge



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